                IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE NORTHERN DISTRICT OF ALABAMA
                           NORTHERN DIVISION

In Re: Avery Alan Mitchell     )
SSN: XXX-XX-9938               )
                               )                           Case No. 19-81521-CRJ-7
                               )                           Chapter 7
                               )
     Debtor,                   )
_______________________________)
                               )
KIMBERLY MITCHELL,             )
                               )
     Plaintiff,                )
v.                             )                           AP NO.: 19-80077-CRJ
                               )
AVERY ALAN MITCHELL,           )
                               )
     Defendant.                )

                              MOTION TO STRIKE ANSWER

       COMES NOW, Kim Mitchell, the Plaintiff in the above Adversary Proceeding, and
moves the Court to strike the Answer of Defendant, Avery Alan Mitchell, filed in this
proceeding. In support of this Motion, Plaintiff states as follows:

   1. The Adversary Proceeding in the present case is one to determine that certain domestic
      support obligations previously incurred by the Defendant are not dischargeable as a result
      of his chapter 7 bankruptcy filing. These claims include debts for child support, alimony
      and alimony in gross.

   2. Rather than address the specific allegations contained in the Complaint, Defendant has
      simply filed a general denial of all claims. This filing is in bad faith and not permitted
      under the rules which only allow a general denial when the Defendant has a “good faith”
      basis to deny all allegations. Defendant cannot have a good faith basis to deny all the
      allegations of the Complaint.




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   3. Plaintiff moves this Court to strike the answer filed by the Defendant and require the
      Defendant to respond as set forth under the applicable rules of pleading.


        WHEREFORE, THE ABOVE PREMISES CONSIDERED, Plaintiff requests that the
Court strike Defendants Answer and require him to respond to the allegations of the Complaint
as required by the Rules of Federal Bankruptcy Procedure.


       Respectfully submitted this 1st day of October, 2019.



                                                            /s/ Melissa W. Larsen
                                                            Melissa W. Larsen
                                                            Attorney for Debtor/Plaintiff
                                                            521 Madison St, Ste 201
                                                            Huntsville, Alabama 35801
                                                            (256) 970-4217


                                  CERTIFICATE OF SERVICE

       I hereby certify that I have served a copy of the foregoing upon the following:

       S. Mitchell Howie, Attorney for Defendant
       107 North Side Square
       Huntsville, AL 35801

electronically, on this the 1st day of October, 2019.

                                                            /s/ Melissa W. Larsen




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